 

Case 4:21-cr-20626-SDD-CI ECF No. 1, PagelD.1 Filed 10/06/21 Page 1of3 S

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF MICHIGAN
SOUTHERN DIVISION

Case: 4:21-cr-20626

UNITED STATES OF AMERICA Judge: Davis, Stephanie Dawkins
, MJ: Ivy, Curtis

_ Filed: 10-06-2021
Plaintiff, INDI USA v. Tyquan Rushin (tt)

¥.

TYQUAN M. RUSHIN,

 

 

Violation(s):
Defendant. 18 U.S.C. § 922(g)(1)
INDICTMENT
[- ] f
4 tS
THE GRAND JURY CHARGES: OCT 06 2021
U.S, DISTRICT COURT
COUNT ONE FLINT, MICHIGAN

FELON IN POSSESSION OF A FIREARM
18 U.S.C. § 922(g)(1)

On or about August 28, 2021, in the Eastern District of Michigan, TYQUAN
M. RUSHIN, knowing he had been previously convicted of an offense punishable
by a term of imprisonment exceeding one year, knowingly possessed, in and
affecting commerce, a firearm, that is, a Smith & Wesson, Model SDVE, 9mm

caliber, semi-automatic pistol, in violation of Title 18, United States Code, Section

922(g){1).
 

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FORFEITURE ALLEGATIONS

The allegations contained in Count One of this Indictment are hereby re-
alleged and incorporated by reference for the purpose of alleging forfeiture pursuant
to Title 18, United States Code, Section 924(d)(1).

Upon conviction of the offense({s) charged in Count One of this Indictment,
TYQUAN M. RUSHIN, shall forfeit to the United States, pursuant to Title 18,
United States Code, Section 924(d)(1), any firearm or ammunition involved in said
offense including, but not limited to, one Smith & Wesson, Model SDVE, 9mm
caliber, semi-automatic pistol, serial number FYD0554.

THIS IS A TRUE BILL.

s/Grand Jury Foreperson
Dated: October 6, 2021 GRAND JURY FOREPERSON

 

SAIMA S. MOHSIN
Acting United States Attorney

s/Anthony P. Vance
ANTHONY P. VANCE

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Chief— Branch Offices

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United States District Court Criminal Case Cover Judge: Davis, Stephanie Dawkins
Eastern District of Michigan MJ: Ivy, Curtis
Filed: 10-06-2021
NOTE: It is the responsibility of the Assistant U.S. Attorney signing this form te complete it accuratet INDI USA v. Tyquan Rushin (tt)
Companion Case Information Companion UCase Number:

 

This may be a companion case based on LCrR 57.10(b)(4)':

 

OYes WINo AUSA's Initials: AV

 

 

 

 

Case Title: USA v. Tyquan M. Rushin
County where offense occurred: Genesee | IL IE
Offense Type: Felony OCT 06 2021

Indictment -- based upon prior complaint [Case number: 21-mj-30414]
U.S. DISTRICT COURT

 

 

 

 

Superseding Case Information FLINT, MICHIGAN
Superseding to Case No: Judge:

Reason:

Defendant Name Charges Prior Complaint (if applicable

 

Please take notice that the below listed Assistant United States Attorney is the attorney of record for
the above captioned case

s/Anthony P. Vance
October 6, 2021

 

 

Date Anthony P. Vance
Assistant United States Attorney
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Flint, MI 48502
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1 Companion cases are matters in which it appears that (1} substantially similar evidence will be offered at trial, or (2) the same or related parties are

present, and the cases arise out of the same transaction or occurrence. Cases may be companion cases even though one of them may have already
been terminated.

 
